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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

 ROSY GIRON DE REYES; JOSE
 DAGOBERTO REYES; FELIX ALEXIS
 BOLANOS; RUTH RIVAS; YOVANA
 JALDIN SOLIS; ESTEBAN RUBEN MOYA
 YRAPURA; ROSA ELENA AMAYA; and
 HERBERT DAVID SARAVIA CRUZ,
                                                     Civil Action No. 1:16cv00563-TSE-TCB
                Plaintiffs,

         vs.

 WAPLES MOBILE HOME PARK LIMITED
 PARTNERSHIP; WAPLES PROJECT
 LIMITED PARTNERSHIP; and A.J.
 DWOSKIN & ASSOCIATES, INC.,

                Defendants.


    CONSENT MOTION TO WITHDRAW PAUL F. BRINKMAN AS COUNSEL FOR
                           PLAINTIFFS
         Pursuant to Local Rule 83.1(G), the undersigned attorney respectfully moves this Court for

 leave for Paul F. Brinkman to withdraw as counsel for Plaintiffs Rosy Giron De Reyes, Jose

 Dagoberto Reyes, Felix Alexis Bolanos, Ruth Rivas, Yovana Jaldin Solis, Esteban Ruben Moya

 Yrapura, Rosa Elena Amaya, and Herbert David Saravia Cruz. In support of this motion, the

 undersigned attorney states as follows:

         1.     Notice of Appearance of Paul F. Brinkman on behalf of Plaintiffs was filed with

 this Court on May 23, 2016 (ECF 10).

         2.      As of September 30, 2017, Paul F. Brinkman will no longer be associated with the

 law firm of Quinn Emanuel Urquhart & Sullivan, LLP.

         3.     Plaintiffs will continue to be represented by the remaining counsel of record for

 Plaintiffs.

         4.     Counsel for Plaintiffs conferred with Counsel for Defendants regarding this motion.
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 Counsel for Defendants have stated that they consent to this motion.

        5.     Accordingly, the undersigned attorney respectfully requests that Paul F. Brinkman

 be granted leave to withdraw. A proposed Order is attached. Plaintiffs waive a hearing on this

 motion.



 DATED September 29, 2017.                 Respectfully submitted,

                                           /s/ Paul Brinkman
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                                           SULLIVAN, LLP
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                                           Counsel for Plaintiffs
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 29th day of September, 2017, I filed the foregoing MOTION

 TO WITHDRAW PAUL F. BRINKMAN AS COUNSEL FOR PLAINTIFFS electronically with

 the Clerk of the Court using the ECF system, and caused to be served by electronic mail a copy

 of the foregoing document upon the following parties:

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 Counsel for Defendants




                                                 /s/ Paul Brinkman
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                                                 Paul Brinkman, VSB # 35950

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                                                 Counsel for Plaintiffs
